Case 8:18-Cr-00608-TDC Document 1 Filed 12/11/18 Page 1 ot 5

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FoR THE I)ISTRICT 0F MARYLANI) \ m`¢;_j, ‘£-'l
UNITED sTATEs 0F AMERICA * \. '._UF"-l§j "
' * l §;'11`.-1_':2
v. * CRIMINAL No. § §§ 99
-* TDL L%ortao€ c m
SI-IIRA UZAN, * (Conspiracy to Commit Wire FrautF,`
a/k/a “Shira Baror” and * 18 U.S.C. § 371)
“Emily Laski” *
Defendant *
*'§H\'****
INFoRMATIoN

The Acting Chief of the U.S. Department of Justice, Criminal Division, Fraud Section
charges that:

GENERAL ALLEGATIONS

The Defelndant and Related Entities

` 1. The defendant, SHIRA UZAN (UZ.AN), was a resident of the country of Israel.

\ 2. Yukorn Communications Was an Israel-based business that provided sales and

marketing services, including “retention services” for two interact-based businesses with the brand

names BinaryBock and BigOption.

3. BinaryBook and BigOption sold and marketed financial instruments known as

“binary options.” BinaryBook and BigOption sold and marketed binary options to customers

located throughout the world, including in the United States and within the District of Maryland.

4. Yukom provided retention services on behalf of BinaryBook and BigOption

through the use of communications by email and by phone to individuals in the United States,
including in the District of Maryland, and elsewhere throughout the world. Retention services

were services provided With the objective to obtain additional deposits from investors Who had

previously made deposits.

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Case 8:18-Cr-00608-TDC Document 1 Filed 12/11/18 Page 2 ot 5

5. A conversion agent was a salesperson responsible for converting a prospective
binary options customer into an investor and obtaining an initial deposit of funds. A retention
agent was responsible for working with the investor going forward with the goal of obtaining
additional deposits Yukom salespeople sometimes referred to themselves as “brokers” or
“traders” to potential investors.

6. From in or about January 2015 though in or about September 2016, UZAN worked
as a sales representative for BigOption and BinaryBook.

7. In correspondence and other communications, UZAN identified herself as a
“Senior Account Manager” and “Account Manager” for BigOption and/or BinaryBook.

Bina\_'y Options

8. A binary option was a type of option contract in which the payout depended on the
outcome of a discrete event, typically related to Whether the price of a particular asset-such as a
stock or a commodity_would rise above or fall below a specified amount. Unlike standard
options, investors in binary options were not being given_the opportunity to actually purchase a
stock or a commodity but, rather, were effectively predicting whether its price would be above or
below a certain amount at a certain time of the day. The option holder was typically promised
that when the binary option expired, the option holder would receive either a pre-determined
amount of cash or nothing

9. While some binary options were listed on registered exchanges or traded on a
designated contract market that were subject to oversight by U.S. regulators such as the Securities
and Exchange Comrnission and the Commodity Futures Trading Comrnission, neither BinaryBook
nor BigOption sold binary options that were traded on a legal and regulated designated contract

market in the United States.

Case 8:18-Cr-00608-TDC Document 1 Filed 12/11/18 Page 3 ot 5

Related Definitions

10. A “bonus” was an amount that representatives of BinaryBook and BigOption could
contribute to an investor’s account to be used in trading

ll. A “risk Hee trade” or “insured trade” was a trade offered by representatives to
investors in which the investors’ accounts Would be reimbursed by “bonus” funds in the event of
a losing trade.

The Victims

12. Victim A, an investor in BinaryBook, was a resident of Gaithersburg, Maryland,
located in the District of Maryland.

13. Victim B, an investor in BigOption, was a resident of Laurel, Maryland, located in
the District of Maryland.

14. Victim C, an investor in BinaryBook, was a resident of Annapolis, Maryland,
located in the District of Maryland.

COUNT ONE
(Conspiracy to Commit Wire Fraud)

15. Paragraphs 1 through 14 of this lnforrnation are incorporated here.

16. Beginning in or about January 2015 through in around September 2016, in the
District of Maryland and elsewhere, the defendant,

SHIRA UZAN,

and others known and unknown, did knowingly combine, conspire, confederate, and agree with
each other and others, both known and unknown, to commit offenses against the United States, to
wit, wire fraud, that is, knowingly and with intent to defraud, having devised and intended to devise
a scheme and artifice to defraud and to obtain money and property by means of materially false

and fraudulent pretenses, representations, promises, and knowing concealment concerning a

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Case 8:18-Cr-00608-TDC Document 1 Filed 12/11/18 Page 4 ot 5

material fact or matter, to transmit and cause to be transmitted by means of wire communications
in interstate and foreign commerce, writings, signs, signals, pictures and sounds for the purpose of
executing the scheme and artifice, in violation of Title 18, United States Code, Section 1343.
Purpose of the Conspiracv

17. lt was the purpose of the conspiracy for UZAN and representatives of Yukom,
BinaryBook, BigOption, and other entities, to obtain the maximum deposit from investors and to
take steps to ensure that investors lost the money in their accounts»-thereby making money for
themselves and their brand in the processl

Mner and Means of the Consniracv

18. UZAN and her co-conspirators induced investors to deposit funds based on
misrepresentations, including: (1) false statements and material omissions regarding the alignment
of financial incentives between investors and representatives; (2) false statements and material
omissions regarding the suitability of binary options as investments and returns on investments in
binary options; (3) false statements and material omissions about the names, qualifications, and
physical location of representatives assisting investors; and (4) false statements and material
omissions regarding investors’ ability to withdraw investment funds and about the reasons that
funds could not be withdrawn Representatives of BinaryBook and BigOption also made false
statements and material omissions regarding--and engaged in the deceptive use of_so»called

“bonuses,” “risk free trades,” and “insured trades.”

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Case 8:18-Cr-00608-TDC Document 1 Filed 12/11/18 Page 5 ot 5

OVert Acts in Furthe_rgnce of the Conspiracy

19. ln furtherance of the conspiracy and to effect the objects of the conspiracy, the

following overt acts, among others, were committed in the District of Maryland and elsewhere:

a. On or about August 28, 2015, a BinaryBook representative sent an email through
interstate and foreign commerce to Victim A on behalf of BinaryBook at Victirn
A’s Google email account regarding bank wire transfer instructions while Victim
A was in the District of Maryland.

b. On or about March l l, 2015, while in the District of Maryland, Victim B spoke by
telephone with a BigOption representative, working on behalf of BigOption.

c. On or about lune 15, 2016, an email was sent through interstate and foreign
commerce on behalf of BinaryBook’s “Cornpliance Department” to Victim C at
Victim C’s Apple email account requesting the completion of a Deposit
Confirmation Form while Victirn C was in the District of Maryland.

18 U.S.C. § 371

ama tag

Sandra Moser
Acting Chief, Fraud Section
U. S. Departrnent of lustice, Criminal Division

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